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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS



JOHN DOE,                                    )
                       Plaintiff,            )
                                             )
               v.                            )               Civil Action No. 3:17-30145-MGM
                                             )
UNIVERSITY OF MASSACHUSETTS                  )
AMHERST et al,                               )
               Defendants.                   )



                            SETTLEMENT ORDER OF DISMISSAL

MASTROIANNI, D.J.

       The court, having been advised on August 27, 2018, that the above-entitled action has

been settled, and informed by counsel on September 27, 2018 following the issuance of the

Settlement Order of Dismissal at Dkt. No. 73, that settlement is expected to be consummated

within thirty-five (35) days;

       IT IS ORDERED that this action is hereby dismissed without costs and without prejudice

to the right of any party, upon good cause shown, to reopen the action within thirty-five (35)

days if settlement is not consummated. The Order at Dkt. No. 73 is hereby VACATED.



                                                     By the Court,



                                                      /s/ Timothy J. Bartlett
                                                     Timothy J. Bartlett
                                                     Deputy Clerk
